846 F.2d 78
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Anna L. GEE, Petitioner,v.DEPARTMENT OF the ARMY, Respondent.
    No. 87-3385.
    United States Court of Appeals, Federal Circuit.
    March 31, 1988.
    
      Before EDWARD S. SMITH, BISSELL and ARCHER, Circuit Judges.
      PER CURIAM.
    
    
      1
      The final decision of the Merit Systems Protection Board (board), Docket No. CH07528710078, affirming the thirty day suspension of Anna L. Gee by the Department of the Army, is affirmed on the basis of the board's opinion dated March 4, 1987.
    
    